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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

xX
UNITED STATE OF AMERICA Docket 1:16 CR 00583 (JSR)
-against- NOTICE OF
MOTION
VINCENT FYFE,
Defendant, Date: February 2, 2021
Xx

PLEASE TAKE NOTICE, that upon the affidavit of VINCENT FYFE, duly
sworn of theZ( May of December, 2020, the affidavit of JOSEPH GIARAMITA, ESQ.,
affirmed on the qai/ / day of December, 2020, the defendant will move before this Court
on February 2, 2021 at 9:30 a.m. or as soon thereafter as this matter can be heard for an
Order.

1. To remove the automatic bar imposed by section 504 of the Labor-Management
Reporting and Disclosure Act (LMRDA) on the grounds that it has been clearly
demonstrated that:

A. Employment in one of the prohibited positions is not contrary to the purposes

of the LMRDA; and

B. That the defendant have been rehabilitated since commission of the

disqualifying crime and can therefore be trusted not to endanger an

organization in the position for which relief from the bar is sought;

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C. For such other and further relief as this Court deems just and proper.

Dated: December 723 2020

To:

a. 180

Brooklyn, New York

AUSA Kimberly Ravener
UNITED STATES ATTORNEY
1 St. Andrews Plaza

New York, New York 10007

U.S. Department of Labor

Division of Enforcement N-5119

200 Constitution Ave N.W.

Washington, D.C. 20210

(Certified mail, return receipt requested)

0st GIARAMITA, ESQ.

df Attorney for Defendant

VINCENT FYFE
8215 Fifth Avenue

Brooklyn, New York 11209

718/748-4440

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Xx
UNITED STATE OF AMERICA Docket 1:16 CR 00583 (JSR)
-against- AFFIDAVIT IN
SUPPORT
VINCENT FYFE,
Defendant,
Xx

STATE OF NEW YORK )
COUNTY OF RICHMOND )ss.:

VINCENT FYFE, being duly sworn, deposes and says:

1. Iam the defendant in this case and familiar with the facts asserted herein and
submit this affidavit in support of the motion to remove the automatic bar set by
29 U.S.C. Section 504 of the Labor - Management Reporting and Disclosure Act
(LMRDA),.

2. Iam aware that the office of Labor — Management Standard (ULMS), U.S.
Department of Labor is responsible for enforcing most of the provisions of the
(LMRDA).

3. My sentence date is February 2, 2021 and is from a plea of guilty that was entered
on November 16, 2012. I continued to work in my position as President of UFCW
Local 2D until March 10, 2020.

4. I request to have the bar removed to permit service in a particular prohibited
capacity on the grounds that I have clearly demonstrated that:

A. Service in one of the prohibited positions is not contrary to the purposes of

the LMRDA; and
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B. That I have been rehabilitated since commission of the disqualifying crime
and can therefore be trusted not to endanger an organization in the position
for which relief from the bar is sought;

5. I request a hearing if your Honor wishes to proceed in that manner.

6. The Court is aware of my cooperation with the Government, including testifying
in United States v. Frank Giovinco.

7. I was relieved of duty as President of Local 2D by the International Union on
March 10, 2020.

8. Since then, the Union has sought my assistance with the transition. They paid my
salary for all of March, April and the first week of May. They let me keep my car
and phone until June. They continue to pay my medical benefits to date and they
are aware I am in treatment for Hodgkins Lymphoma.

9. Since my termination, Dave Young, the lead trustee for local 2D and Stephen
Booras, deputy, trustee asked me to assist them using the institutional knowledge
of the workings of Local 2D, the employers I represented and knowledge
throughout my career. This continues almost daily. I’ve prepared reports and
reviewed proposals, interpreted and explained contract language, which is based
upon past practice examples. I also give health, welfare and pension advice. I
provide input into the negotiation of covid procedure and layoffs as well as

collective bargaining agreement language for contract negotiating renewals.
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10. I am involved in or have received the following awards (Exhibit A):

a. Ihave been honored as the man of the year for the following charities
during my career (25 years) at local 2D;

b. Association for the Help of Retarded Children (““AHRC”) twice For
helping raise money for Handicap and mentally challenged children and
adults. (2007, 2012);

c. Man of the year Boys and Girls Town of Italy aka (A Chance in Life)
helping; Underprivileged children from other countries. (2010) I also
served as a Board member of the Charity from 2011-2020;

d. Man of the year for Michaels Cause Annual Dinner Gala(2015). Michaels
Cause is a Charity raising money for Duchenne Muscular Dystrophy and
the fight to find a cure. | am a member of the Board of Ambassadors of
Michaels Cause. I hold an annual golf outing dedicated to the charity and
have raised over $250,000.00 to date; and

e. Donated to multiple charities personally and in the industry as well as
throughout the UFCW, including St. Jude's Children's Hospital, and

UFCW Leukemia and Lymphoma Society.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Xx
UNITED STATE OF AMERICA Docket 1:16 CR 00583 (JSR)
-against- AFFIDAVIT IN
SUPPORT
VINCENT FYFE,
Defendant,
creas 7S Svan eee arm Ces eee XxX

STATE OF NEW YORK )
COUNTY OF KINGS ) 882

JOSEPH GIARAMITA, being duly sworn, deposes and says:

1. Iam the attorney for the defendant in this case and familiar with the facts asserted herein
and submit this affidavit in support of the motion to remove the automatic bar which is
set by 29 U.S.C. Section 504 of the Labor — Management Reporting and Disclosure Act
(LMRDA).

2. The office of Labor-Management Standard (ULMS), in the U.S. Department of Labor is
responsible for enforcing most of the provisions of the (LMRDA).

3. My client’s sentence date is February 2, 2021 and is from a plea of guilty that was
entered on November 16, 2012. He worked in his position until March 10, 2020.

4. Vincent Fyfe pleaded guilty before this Court. As a result of those convictions, the
Labor-Management Reporting and Disclosure Act of 1959 ("LMRDA") prohibits Fyfe
from working in certain capacities for any labor union until February, 2034. Fyfe now
moves, pursuant to § 504 (a) of the LMRDA, for an exemption from that prohibition so
that he may be employed as a consultant advising businesses. He will not work for any

Union or anything related to ERISA.
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5. Weask this Court to grant the motion because, as explained in more detail below, Fyfe
has demonstrated his rehabilitation and because his employment would not conflict with
the purposes of the LMRDA.

6. On January 1, 1995, Fyfe became employed by local 2D and became the President of it
after the head of the Local passed away on January, 2001.

7. But Fyfe also committed crimes. Specifically, Count 1 charges from 2005-2008, he

received invoices for merchandise sold to Local 2D of the United Food and Commercial
Workers Union (“UFCW”) that he knew to be for amounts greater than the value of the
merchandise provided to Local 2D, caused the invoices to be paid to the vendors with
local 2D funds, and received cash payments back from the vendors from the Local 2D

funds used to pay those invoices (29 U.S.C. §501(c)).

Count 2 charges that from 2008 through 2011, in the Eastern District of New York, and
elsewhere, VINCENT FYFE, being the President of Local 2D of the United Food and
Commercial Workers Union (UFCW), a labor organization, whose members were
covered by an employee welfare benefit plan, the Local 348-S Health and Welfare
Benefits Plan, caused certain members of Local 2D to join the Local 348-S Plan and

then accepted cash payments from vendors that sold services to the Local 348-S Plan

(18 U.S.C. § 1954).

Count 3 charges that in 2009, in the Eastern District of New York, and elsewhere,
VINCENT FYFE, being an officer of an employee pension plan, the Wine, Liquor and
Distillery Workers Union Local 2D Pension Fund (the “Local 2D Pension Fund),

recommended an investment to the trustees of the Local 2D Pension Fund and, after the

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Local 2D Pension Fund purchased the investment, accepted a cash kickback from the
broker who sold the investment to the Local 2D Pension Fund (18 U.S.C. § 1954).
Overall, he received between $6,500.00 and $15,000.00 (PSR, paragraph 30). Fyfe met
with law enforcement in August, 2012 and promptly began cooperating with the
Government. Three months later, he surrendered and pled guilty on November 16, 2012.
Pursuant to his cooperation agreement, Fyfe pleaded guilty to one count of
Embezzlement of a Labor Organization in violation of 29 U.S.C. § 501(c). At Fyfe’s
sentencing on February 2, 2021 it is expected that the Government will move for a
sentence pursuant to 18 U.S.C. § 3553(e) and § 5K1.1 of the Sentencing Guidelines, in
view of his substantial cooperation.

Since his entry of a plea of guilty on November 16, 2012, Fyfe completed his work as
head of Local 2D without incident.

He does not seek to work for a Union as a staff member or officer.

Fyfe has expressed interest in as a consultant. If permitted to be employed in that
capacity, Fyfe plans to advise employees on all aspects of business related issues,
including but not limited to, managerial, personnel and labor issues related to running
their business. This includes being available to serve at the position designated by the
employees. Several prospective employees have requested his work as an employee in
their company.

Fyfe seeks an exemption so that he may be employed in a consultant capacity for these
purposes.

Section 504 (a) of the LMRDA bars persons convicted of certain crimes, from serving
"as a consultant or adviser to any labor organization" for a period of thirteen years after

conviction or the end of the term of imprisonment, whichever is later. 29 U.S.C. §

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504(a). However, it also provides a mechanism for obtaining relief from that prohibition.
Those purposes include ensuring that "labor organizations, employers, and their officials
adhere to the highest standards of responsibility and ethical conduct in administering the
affairs of their organizations," § 401(a), as well as preventing abuses by "representatives
of a labor organization [who] occupy positions of trust," § 501(a). In making its
determination, the Court is instructed to consider policy statements of the Sentencing
Guidelines. The applicable policy statement provides that:

The statute provides three avenues for relief: “(1) petitioning the
sentencing court to reduce the duration the statue applies, (2)
obtaining full restoration of citizenship rights, or (3) petitioning
based on the for an exemption Court’s determination that the in
the prohibited petitioner's service capacities does not violate the
purposes of the Act.” U.S. v. Cullison, 422 F.Supp.2d 65, 69;
United States v. Lipsky, 422 F.Supp.480. (D.D.C. 2006). While
Lipsky notes that he has received a Certificate of Relief from
Disabilities from the State of New York, he does not argue that
it is sufficient to justify relief under the second paragraph of §
504(a). Rather, he seeks relief through the first or third paragraph,
which, because more than three years have passed since his
release, provide the same standard in his case. See United State
v. Peters,938 F.Supp.2d 296, 298 (N.D.NY. 2013) (“The only
difference between a reduction and an exemption is that an
exemption does not require the passage of initial three-year
period, while a reduction does.”). See also United States v.
Lipsky, 221 F. Supp. 3d. 480 (2016),'

14. In making its determination, the Court should consider policy
statements of the Sentencing Guidelines. The applicable policy
statement provides that: Relief shall not be given to aid rehabilitation,
but may be granted only following a clear demonstration by the
convicted person that he or she has been rehabilitated since
commission of the disqualifying crime and can therefore be
trusted not to endanger the organization in the position for which
he or she seeks relief from disability. U.S.S.G. § 5J1.1 (2016).
Therefore, in evaluating a motion under § 504(a), "courts must
analyze whether the petitioner has been fully rehabilitated, and
whether it would be contrary to the purposes of the LMRDA,

'Credit for much of the analysis is given to that written decision.
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considering the nature and gravity of the petitioner's crime(s), for
the petitioner to hold such a position. "United States v. Peters, 938
F.Supp.2d 296, 299 (N.D.N.Y. 2013).

It is urged that Fyfe has made a showing of rehabilitation. Prior to his arrest, Fyfe
promptly met with law enforcement, surrendered, accepted responsibility for his offense
and cooperated fully with the Government. During this period, he committed a driving
while intoxicated offense, a misdemeanor, in Richmond County on July 24, 2019. It was
reduced to a driving while impaired on July 3, 2019. The disposition was to a violation
and not to a criminal conviction and there was no accident. Otherwise, his record has
been umblemished. His probation officer expressed the belief that Fyfe has showed
remorse for his offense, followed all directions, and never caused any problems during

post arrest cooperation.

After his plea, Fyfe undertook productive work on behalf of others. In this regard, he

was involved in the following:

a. He has have been honored as the Man of the Year for during his career (25 years)
at local 2D by:

b. Association for the Help of Retarded Children (“AHRC’”) (twice) for helping
raise money for Handicap and mentally challenged children and adults. (2007,
2012):

c. Man of the Year Boys and Girls Town of Italy aka (A Chance in Life) helping;
Underprivileged children from other countries. (2010) he also served as a Board
member of the Charity from 2011-2020:

d. Man of the Year for Michaels Cause Annual Dinner Gala (2015). Michaels Cause

is a Charity raising money;
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For Duchenne Muscular Dystrophy and the fight to find a cure. He is a member
of the Board of Ambassadors of Michaels Cause. He holds an annual golf outing
dedicated to the charity and has raised over $250,000.00 to date.

e. He donated to multiple charities both personally with his own money, as well as
including St. Jude's Children Hospital and UFCW Leukemia, Lymphoma Society
and in the industry as well as throughout the UFCW.

17. A request to have the bar removed to permit service in a particular prohibited capacity is
allowed on the grounds that is clearly demonstrated that:

a. Service in one of the prohibited positions is not contrary to the purposes of the
LMRDA; and

b. That the individual has been rehabilitated since commission of the disqualifying
crime and can therefore be trusted not to endanger an organization in the position
for which relief from the bar is sought;

18. A hearing is requested if your Honor wishes to proceed in that manner.
19. The Court is aware of my client’s post conviction cooperation with the Government,

including testifying in United States v. Frank Giovinco. The sentencing was scheduled

immediately following the Giovinco sentencing. That was the last of the cases.

20. My client was relieved of duty as President of Local 2D by the International Union on
March 10, 2020.

21. Since then, the Union has sought and received my client’s assistance to help with the

transition. They paid his salary for all of March, April and the first week of May. They
let him keep his car and phone until June. They continue to pay his medical benefits to
date and they are aware he has continuing treatment for Hodgkins Lymphoma. He also

had coronavirus for 2 weeks but was not hospitalized.

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22. They asked him to assist them using the institutional knowledge he has of the workings
of Local 2D, the employers he represented, and of his knowledge throughout his career.
This continues almost daily. He has prepared reports and reviewed proposals, interpreted
and explained contract language. This is based upon past practice examples. He also
gives health, welfare and pension advice. He provides input into negotiation of covid
procedure and layoffs as well as collective bargaining agreement language for contract
negotiating renewals.

23. Neither the statute nor the applicable policy statement in the Guidelines imposes a
minimum time period that must elapse before a person can obtain an exemption. Letting
more time pass to become more confident of Fyfe's rehabilitation is therefore not
required, and doing so here would come at an appreciable cost, as it would materially
diminish the amount of time that Fyfe, who is currently 47 years old and suffers from

Hodgkins Lymphoma, has to engage in the work he proposes.

24. We urge the Court to deem it unlikely that Fyfe will "endanger the organization in the
position" he seeks. The role that Fyfe proposes is both limited and distinct from the
work in connection with which he was engaged in. Fyfe has also undertaken to totally

abstain from any Union work in the capacity of a staff member or officer.

25. Given Fyfe's demonstrated rehabilitation, as well as his conscious effort to design a role
in which he would not engage in the work from which his offense arose, we urge the

Court to be satisfied that Fyfe will not endanger the role he envisions. Numerous letters

are enclosed which support him.

26. We urge to the Court to find that granting Fyfe an exemption would not be inconsistent

with the purposes of the LMRDA. It asserts that eradicating bribery motivated the
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passage of the LMRDA, the purpose of which is in part to address instances of "breach

of trust and corruption" in the labor and management fields.

27. For these reasons, we ask the Court to grant Fyfe's motion for an exemption from the

statutory bar to employment contained in 29 U.S.C. § 504(a).

Respectfully submitted,

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Sworn to before me this #24 (
day of December, 2020

Cw Bw ©

Notary Public

NER BAR-AM
~ State of New York

tary Public,
Y No, 0146106502

Qualified in Kings County
Commission Expires March 8, 2024

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